Case 1:17-cv-00142-RJS-DAO Document 223 Filed 12/30/21 PageID.8369 Page 1 of 3




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 Attorneys for Defendants

                           IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF UTAH, NORTHERN DIVISION

                                                     )
                                                     )     DEFENDANTS’ RESPONSE TO
     JOHN BEAN TECHNOLOGIES
                                                     )     PLAINTIFF’S MOTION TO BAR
     CORPORATION, a Delaware corporation,
                                                     )      TRENT LARSON AS A TRIAL
             Plaintiff,                              )                 WITNESS
     vs.                                             )
                                                     ) Case No. 1:17-cv-00142-RJS-EJF
     B GSE GROUP, LLC, a North Carolina              )
     limited liability company, and BRYAN            ) Judge: Robert J. Shelby
     BULLERDICK, an individual,                      )
             Defendants.                             ) Magistrate Judge: Daphne A. Oberg
                                                     )

            In response to Plaintiff John Bean Technologies Corporation’s Motion to Bar Trent Larson

 as a Trial Witness1 (the “Motion”), Defendants, B GSE Group, LLC and Bryan Bullerdick,

 withdraw Larson from their witness list. Defendants therefore request that the Court deny the

 Motion as moot.




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     Dkt. 222.


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Case 1:17-cv-00142-RJS-DAO Document 223 Filed 12/30/21 PageID.8370 Page 2 of 3




          This the 30th day of December, 2021.


                                                 /s/ Joshua B. Durham
                                                 Patrick E. Johnson
                                                 Paul T. Moxley
                                                 COHNE KINGHORN

                                                 Edward B. Davis
                                                 Joshua B. Durham
                                                 BELL, DAVIS & PITT, P.A.


                                                 Counsel for Defendants




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 798542
Case 1:17-cv-00142-RJS-DAO Document 223 Filed 12/30/21 PageID.8371 Page 3 of 3




                                   CERTIFICATE OF SERVICE
          I hereby certify that I electronically filed the foregoing with the Clerk of the Court using

 the CM/ECF system, which will send notification to all counsel of record in the system.

          This the 30th day of December, 2021.
                                                        /s/ Joshua B. Durham




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